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                                                           December 28, 2020

Honorable George B. Daniels
U.S. District Court for the S.D.N.Y.
500 Pearl Street
New York, NY 10007

       Re: United States v. Zilberberg, 19 Cr. 802 (GBD)

Dear Judge Daniels:

        We represent Mendel Zilberberg in the above-referenced case. On November 30, 2020,
this Court granted counsel’s request to modify the motion schedule in the above-referenced case
as follows: January 4, 2021 – Defense Motions Due; January 22, 2021 – Government Opposition
Due; February 5, 2021 – Defense Reply Due. We continue to discuss the potential motion issues
with the Government in the hopes of resolving disagreements without the need for motions. In
order to continue these discussions, we respectfully request—without objection from the
Government or counsel for codefendant Aron Fried—that the Court modify the motion schedule
as follows:

       • January 25, 2021 – Defense Motions Due
       • February 12, 2021 – Government Opposition Due
       • February 26, 2021 – Defense Reply Due

       This is counsel’s second extension request. Thank you for your consideration.

                                                           Respectfully,



                                                           Benjamin Brafman, Esq.
cc: Gov’t Counsel (via ECF)
